Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hollywood Lofts LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1200 Westlake Ave. N, Suite 608                                 P.O. Box 9263
                                  Seattle, WA 98109-3529                                          Seattle, WA 98109
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Hollywood Lofts
                                                                                                  127 Broadway East Seattle, WA 98102
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 24-10916-CMA                   Doc 1       Filed 04/15/24            Ent. 04/15/24 16:53:35                Pg. 1 of 39
Debtor    Hollywood Lofts LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-10916-CMA                      Doc 1      Filed 04/15/24              Ent. 04/15/24 16:53:35                    Pg. 2 of 39
Debtor    Hollywood Lofts LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-10916-CMA                            Doc 1      Filed 04/15/24            Ent. 04/15/24 16:53:35                   Pg. 3 of 39
Debtor   Hollywood Lofts LLC                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-10916-CMA            Doc 1      Filed 04/15/24          Ent. 04/15/24 16:53:35            Pg. 4 of 39
Debtor    Hollywood Lofts LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 15, 2024
                                                  MM / DD / YYYY


                             X /s/ Ron E. Amundson                                                        Ron E. Amundson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ James L. Day                                                            Date April 15, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James L. Day
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      jday@bskd.com

                                 WSBA 20474 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-10916-CMA                  Doc 1        Filed 04/15/24             Ent. 04/15/24 16:53:35                 Pg. 5 of 39
                           MEMBER RESOLUTIONS OF HOLLYWOOD LOFTS LLC


                     The undersigned, being the members of Hollywood Lofts LLC, a Washington limited
            liability company (the Company), do hereby consent to adoption of the following resolutions:
                   WHEREAS, the undersigned are the members of the Company (each, a Member, and
            together, the Members) and the manager of the Company (the Manager); and
                    WHEREAS, the Company owns a multifamily apartment complex commonly known as
            the Hollywood Lofts, located at 127 Broadway, Seattle, WA 98102 (the Property), as to which
            it obtained a Certificate of Occupancy in 2016; and
                    WHEREAS, the Company is obligated on a loan (the Loan) from Wells Fargo Bank,
            N.A., as Trustee for the Registered Holders of J.P. Morgan Chase Commercial Mortgage Securities
            Corp., Multifamily Mortgage Pass-Through Certificates, Series 2017-K724 (Lender) in the
            original principal sum of $9,800,000 (the Loan) that is secured by deed of trust encumbering the
            Property (the Deed of Trust); and
                   WHEREAS, on or about February 22, 2024, Lender sent to the Company a Notice of
            Default commencing a non-judicial foreclosure of the Deed of Trust (the Foreclosure); and
                    WHEREAS, on or about February 26, 2024, Lender commenced an action in King County
            (WA) Superior Court, Wells Fargo Bank, National Association, as Trustee for the Registered
            Holders of J.P. Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage
            Pass-Through Certificates, Series 2017-K724 v. Hollywood Lofts, LLC, Case No. 24-2-04335-7
            SEA (the Receivership Action), seeking, among other relief, appointment of a custodial receiver
            to take possession of the Property and its income pending completion of the Foreclosure; and
                    WHEREAS, the Company currently has unpaid unsecured creditors holding claims
            totaling approximately $22,430.04, each of whom extended unsecured credit to the Company in
            reliance that their claims would be paid. The Company desires to protect its ability to repay these
            creditors; and
                   WHEREAS, the Company believes there is significant equity in the Property, which will
            only increase once interest rates and capitalization rates go down to more traditional levels; and
                     WHEREAS, having considered only the interests of the Company, including its creditors,
            it is the collective opinion of the Members and the Manager of the Company that, in the absence
            of successful workout negotiations with Lender, the only reasonable and prudent response to the
            present circumstances is to commence and proceed expeditiously with the filing of a bankruptcy
            case under Chapter 11 of the Bankruptcy Code, to reorganize the financial affairs of the Company,
            preserve the Property as an asset of the Company, and repay creditors in full.

                  NOW, THEREFORE, the undersigned, being the Members and Manager of the Company,
            unanimously consent to the following action:




2800 hd14v80159
              Case 24-10916-CMA         Doc 1    Filed 04/15/24     Ent. 04/15/24 16:53:35       Pg. 6 of 39
                    RESOLVED, that the Company, acting through the Manager, is hereby authorized and
            directed to commence and expeditiously proceed with a bankruptcy case under Chapter 11 of the
            Bankruptcy Code; and it is further

                   FURTHER RESOLVED, that the Company shall employ Bush Kornfeld to represent it in
            the Chapter 11 proceedings and shall seek to have that employment approved by the Bankruptcy
            Court as soon as is practicable; and it is

                   FURTHER RESOLVED, that the Company is hereby authorized to retain such other
            professional consultants on such terms of employment that are reasonable and appropriate, as are
            required in order to act in the best interests of the Company in prosecuting the Chapter 11
            proceeding; and it is

                    FURTHER RESOLVED, that the Company, acting through the Manager, shall take such
            steps and execute such further instruments or documents as may be reasonably required in order
            to effectuate the foregoing resolutions.


                                               [Signature page follows]




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              Case 24-10916-CMA        Doc 1    Filed 04/15/24    Ent. 04/15/24 16:53:35      Pg. 7 of 39
                   These resolutions may be executed in any number of counterparts, each of which shall be
            an original and all of which, taken together, shall constitute the same instrument. Signatures
            transmitted via facsimile or electronic mail shall be effective and binding for all purposes. The
            execution of this consent shall constitute written waiver of any notice required by applicable law
            and the respective company documents of the undersigned.

                   SIGNED this 15th day of April, 2024 at Seattle, Washington.


                   HOLLYWOOD LOFTS LLC



                   Ron E. Amundson, Manager/Member



                   Edel M. Amundson, Member




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              Case 24-10916-CMA        Doc 1     Filed 04/15/24     Ent. 04/15/24 16:53:35      Pg. 8 of 39
Fill in this information to identify the case:

Debtor name         Hollywood Lofts LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 15, 2024                  X /s/ Ron E. Amundson
                                                           Signature of individual signing on behalf of debtor

                                                            Ron E. Amundson
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 24-10916-CMA                    Doc 1        Filed 04/15/24             Ent. 04/15/24 16:53:35              Pg. 9 of 39
 Fill in this information to identify the case:
 Debtor name Hollywood Lofts LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Mold                                                                                                                                                       $595.00
 Inspection                ami@moldmen.net
 5884 NE Eagle
 Harbor Drive
 Bainbridge Island,
 WA 98110-3717
 Apex Appliance                                                                                                                                                      $439.51
 Service, Inc.             apex@arrowlegacy
 14715 Aurora              accounting.com
 Avenue N
 Seattle, WA
 98133-6547
 CenturyLink                                                                                                                                                         $228.98
 100 CenturyLink           craig.glover@lume
 Drive                     n.com
 Monroe, LA                Fax: (318) 388-9562
 71203-2041
 Cressy Door                                                                                                                                                         $278.93
 Company, Inc.             AR@cressydoor.co
 8025 S 224th Street       m
 Kent, WA
 98032-1957
 Guardian Security                                                                                                                                                   $240.79
 Systems, Inc              BillingUpdates@gu
 1743 First Avenue         ardiansecurity.com
 South
 Seattle, WA
 98134-1403
 Houdini Lock and          Dean Coleman                                                                                                                              $228.99
 Key LLC
 14815 12th Avenue         dean@houdinilock
 NE                        andkey.com
 Shoreline, WA
 98155-7113




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-10916-CMA              Doc 1         Filed 04/15/24             Ent. 04/15/24 16:53:35                         Pg. 10 of 39
 Debtor    Hollywood Lofts LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Knox Enterprises,                                                                                                                                                   $300.21
 Inc.
 5010 South Tacoma         Fax: (253) 589-8536
 Way
 Tacoma, WA
 98409-4449
 Mendoza's                 Uriel Mendoza                                                                                                                           $3,285.45
 Landscaping
 & Gardening LLC           UrielMendoza8621
 120 SE Everett Mall       @gmail.com
 Way C 1314
 Everett, WA 98208
 Montgomery Purdue                                                                                                                                                   $993.79
 PLLC
 701 5th Avenue,           Fax: (206) 625-9534
 Suite 5500
 Seattle, WA
 98104-7096
 Mr. Appliance                                                                                                                                                       $153.25
 Central Seattle           centralseattle@mra
 6523 California           ppliance.com
 Avenue SW
 PMB 413
 Seattle, WA 98136
 Otis Elevator                                                                                                                                                     $2,301.76
 Company                   Rolwyn.A@otis.co
 3315 South 116th          m
 Street
 Suite 149
 Seattle, WA 98168
 Pacific Supply Co.        Deborah Ayekha                                                                                                                              $83.80
 1417 12th Avenue
 Seattle, WA 98122
                           Fax: (206) 322-1744
 Pioneer Plumbing &                                                                                                                                                  $294.44
 Heating                   Service@pioneerpl
 2400 NW 80th Street       umbing.biz
 #286
 Seattle, WA
 98117-4449
 Seattle Prop. Mgmt.       Richard Kemp                                                                                                                            $4,493.56
 Assocs.
 1200 Westlake             richk@seattlepma.
 Avenue N                  com
 Suite 608
 Seattle, WA
 98109-3529




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 24-10916-CMA              Doc 1         Filed 04/15/24             Ent. 04/15/24 16:53:35                         Pg. 11 of 39
 Debtor    Hollywood Lofts LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Seattle Prop. Mgmt.       Richard Kemp              Reimbursements                                                                                                  $404.25
 Assocs.
 1200 Westlake             richk@seattlepma.
 Avenue N                  com
 Suite 608
 Seattle, WA
 98109-3529
 Seattle Public                                                                                                                                                    $6,115.94
 Utilities                 SPU_Bankruptcy@
 P.O. Box 34018            seattle.gov
 Seattle, WA
 98124-5177
 Sherwin-Williams                                                                                                                                                    $682.89
 Company
 101 W Prospect            Fax: (206) 343-9178
 Avenue
 Cleveland, OH
 44115-1093
 Stop Bugging Me,          Ryan Fisher                                                                                                                               $323.68
 LLC
 2930 4th Avenue S         ryan@proctorlane.
 Seattle, WA 98134         com
 Turnkey Seattle,                                                                                                                                                    $800.00
 LLC                       turnkey206@gmail.
 4049 NE 88th Street       com
 Seattle, WA
 98115-3740
 Villa's Construction,     Rigoberto                                                                                                                                 $181.91
 LLC                       Villasenor
 13033 NE 197th
 Place                     villasconstruction
 Woodinville, WA           @gmail.com
 98072




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                    Case 24-10916-CMA              Doc 1         Filed 04/15/24             Ent. 04/15/24 16:53:35                         Pg. 12 of 39
 Fill in this information to identify the case:

 Debtor name            Hollywood Lofts LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       14,100,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           178,613.32

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       14,278,613.32


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,373,649.62


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            22,430.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           9,396,079.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com



               Case 24-10916-CMA                                      Doc 1              Filed 04/15/24                         Ent. 04/15/24 16:53:35                             Pg. 13 of 39
Fill in this information to identify the case:

Debtor name         Hollywood Lofts LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                      $0.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Bank of America, N.A.                             Business Advantage
                   P.O. Box 25118                                    Checking (operating
          3.1.     Tampa, FL 33622-5118                              account)                              6666                                     $7,783.95


                                                                     Business Advantage
                   Bank of America, N.A.                             Checking (tenant
                   P.O. Box 25118                                    security deposit
          3.2.     Tampa, FL 33622-5118                              account)                              6682                                    $19,069.38



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $26,853.33
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1



            Case 24-10916-CMA                     Doc 1     Filed 04/15/24            Ent. 04/15/24 16:53:35                    Pg. 14 of 39
Debtor           Hollywood Lofts LLC                                                        Case number (If known)
                 Name

                   Bush Kornfeld LLP
                   601 Union Street, Suite 5000
                   Seattle, WA 98101

          7.1.     Balance of Retainer                                                                                                    $73,262.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Escrow Account (property taxes and insurance)                                                                          $19,583.65




9.        Total of Part 2.                                                                                                            $92,845.65
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     56,045.00      -                                   0.00 = ....                    $56,045.00
                                       face amount                            doubtful or uncollectible accounts
                                       Delinquent Tenant Rent Receivables


12.       Total of Part 3.                                                                                                            $56,045.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used      Current value of
                                             physical inventory            debtor's interest         for current value          debtor's interest
                                                                           (Where available)

19.       Raw materials
          Various Attic Stock                                                             $0.00                                            Unknown



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 2



           Case 24-10916-CMA                    Doc 1         Filed 04/15/24            Ent. 04/15/24 16:53:35               Pg. 15 of 39
Debtor       Hollywood Lofts LLC                                                            Case number (If known)
             Name


23.       Total of Part 5.                                                                                                                  $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used      Current value of
                                                                         debtor's interest          for current value          debtor's interest
                                                                         (Where available)

39.       Office furniture
          Common Area Furnishings                                                         $0.00                                           Unknown



40.       Office fixtures
          Light Fixtures; Kitchen and Bathroom Fixtures                                   $0.00                                           Unknown



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Appliances                                                                      $0.00                                           $2,869.34


          Security Camera System                                                          $0.00                                           Unknown



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $2,869.34
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3



           Case 24-10916-CMA                    Doc 1        Filed 04/15/24             Ent. 04/15/24 16:53:35              Pg. 16 of 39
Debtor        Hollywood Lofts LLC                                                         Case number (If known)
              Name


              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used     Current value of
           property                              extent of              debtor's interest             for current value         debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Real property and
                    improvements
                    thereon located at
                    127 Broadway East,
                    Seattle, WA 98102,
                    commonly known as
                    the Hollywood Lofts.

                    Abbreviated Legal:
                    Ptn Lot 8, Blk 47,
                    Nagle's Add. to the
                    City of Seattle, Vol. 1,
                    P. 153

                    Assessor's Tax
                    Parcel No.:
                    600300-2090-01               Fee Simple                             $0.00         Appraisal                       $14,100,000.00




56.        Total of Part 9.                                                                                                         $14,100,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                page 4



            Case 24-10916-CMA                   Doc 1        Filed 04/15/24           Ent. 04/15/24 16:53:35                  Pg. 17 of 39
Debtor        Hollywood Lofts LLC                                                          Case number (If known)
              Name


      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used      Current value of
                                                                        debtor's interest          for current value          debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Tenant list and mailing lists                                                $0.00                                            Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 5



            Case 24-10916-CMA                    Doc 1           Filed 04/15/24       Ent. 04/15/24 16:53:35               Pg. 18 of 39
Debtor          Hollywood Lofts LLC                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $26,853.33

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $92,845.65

82. Accounts receivable. Copy line 12, Part 3.                                                                     $56,045.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $2,869.34

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $14,100,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $178,613.32           + 91b.           $14,100,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $14,278,613.32




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6



              Case 24-10916-CMA                              Doc 1           Filed 04/15/24                    Ent. 04/15/24 16:53:35                 Pg. 19 of 39
Fill in this information to identify the case:

Debtor name          Hollywood Lofts LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
2.1    Wells Fargo Bank, N.A.                       Describe debtor's property that is subject to a lien                $9,373,649.62           $14,100,000.00
       Creditor's Name                              Real property and improvements thereon
                                                    located at 127 Broadway East, Seattle, WA
                                                    98102, commonly known as the Hollywood
                                                    Lofts.

                                                    Abbreviated Legal: Ptn Lot 8, Blk 47, Nagle's
                                                    Add. to the City of Seattle, Vol. 1, P. 153

       9062 Old Annapolis Road                      Assessor's Tax Pa
       Columbia, MD 21045
       Creditor's mailing address                   Describe the lien
                                                    Multifamily Deed of Trust, Assignment of
                                                    Rents and Security Agreement
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/08/2016                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2074
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.                                       Disputed




                                                                                                                          $9,373,649.6
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                     2

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2




             Case 24-10916-CMA                         Doc 1          Filed 04/15/24                Ent. 04/15/24 16:53:35              Pg. 20 of 39
Debtor    Hollywood Lofts LLC                                               Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      PNC Bank, N.A.
      c/o Perkings Coie LLP                                                         Line   2.1
      Attn: Amanda J. Beane
      1201 Third Avenue, Suite 4900
      Seattle, WA 98101-3099




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 2




          Case 24-10916-CMA            Doc 1       Filed 04/15/24        Ent. 04/15/24 16:53:35                 Pg. 21 of 39
Fill in this information to identify the case:

Debtor name        Hollywood Lofts LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          City of Seattle Dep't of                            Check all that apply.
            Finance & Admin. Servs.                              Contingent
          700 5th Avenue, Suite 4250                             Unliquidated
          PO Box 34214                                           Disputed
          Seattle, WA 98124-4214
          Date or dates debt was incurred                     Basis for the claim:
                                                              B&O taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          Centralized Insolvency Ops.                            Contingent
          PO Box 7346                                            Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Federal income taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 6
                                                                                                              27718



             Case 24-10916-CMA                       Doc 1         Filed 04/15/24                  Ent. 04/15/24 16:53:35                Pg. 22 of 39
Debtor       Hollywood Lofts LLC                                                                        Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $0.00   $0.00
          King County Treasury Ops.                            Check all that apply.
          King Street Center                                      Contingent
          201 S Jackson Street, #710                              Unliquidated
          Seattle, WA 98104                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Personal property taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $0.00   $0.00
          WA State Dep't of Revenue                            Check all that apply.
          Bankruptcy/Claims Unit                                  Contingent
          2101 Fourth Avenue, Suite 1400                          Unliquidated
          Seattle, WA 98121-2300                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               State B&O and sales and use taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $0.00   $0.00
          WA State Emp't Security Dep't                        Check all that apply.
          P.O. Box 9046                                           Contingent
          Olympia, WA 98507                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Payroll taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $595.00
          American Mold Inspection                                               Contingent
          5884 NE Eagle Harbor Drive                                             Unliquidated
          Bainbridge Island, WA 98110-3717                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $439.51
          Apex Appliance Service, Inc.                                           Contingent
          14715 Aurora Avenue N                                                  Unliquidated
          Seattle, WA 98133-6547                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number 4790
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 6




             Case 24-10916-CMA                       Doc 1          Filed 04/15/24                  Ent. 04/15/24 16:53:35                         Pg. 23 of 39
Debtor      Hollywood Lofts LLC                                                             Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $228.98
         CenturyLink                                                  Contingent
         100 CenturyLink Drive                                        Unliquidated
         Monroe, LA 71203-2041                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2423
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $278.93
         Cressy Door Company, Inc.                                    Contingent
         8025 S 224th Street                                          Unliquidated
         Kent, WA 98032-1957                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 1270
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $240.79
         Guardian Security Systems, Inc                               Contingent
         1743 First Avenue South                                      Unliquidated
         Seattle, WA 98134-1403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3899
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $228.99
         Houdini Lock and Key LLC                                     Contingent
         14815 12th Avenue NE                                         Unliquidated
         Shoreline, WA 98155-7113                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $300.21
         Knox Enterprises, Inc.                                       Contingent
         5010 South Tacoma Way                                        Unliquidated
         Tacoma, WA 98409-4449                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3916
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,285.45
         Mendoza's Landscaping                                        Contingent
          & Gardening LLC                                             Unliquidated
         120 SE Everett Mall Way C 1314                               Disputed
         Everett, WA 98208
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $993.79
         Montgomery Purdue PLLC                                       Contingent
         701 5th Avenue, Suite 5500                                   Unliquidated
         Seattle, WA 98104-7096                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 6




            Case 24-10916-CMA                   Doc 1       Filed 04/15/24               Ent. 04/15/24 16:53:35                          Pg. 24 of 39
Debtor      Hollywood Lofts LLC                                                             Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $153.25
         Mr. Appliance Central Seattle                                Contingent
         6523 California Avenue SW                                    Unliquidated
         PMB 413                                                      Disputed
         Seattle, WA 98136
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 1546                      Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,301.76
         Otis Elevator Company                                        Contingent
         3315 South 116th Street                                      Unliquidated
         Suite 149                                                    Disputed
         Seattle, WA 98168
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 9237                      Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $83.80
         Pacific Supply Co.                                           Contingent
         1417 12th Avenue                                             Unliquidated
         Seattle, WA 98122                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0791
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $294.44
         Pioneer Plumbing & Heating                                   Contingent
         2400 NW 80th Street #286                                     Unliquidated
         Seattle, WA 98117-4449                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4710
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $2.91
         Seattle City Light                                           Contingent
         P.O. Box 34023                                               Unliquidated
         Seattle, WA 98124-4023                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3000;0000
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $4,493.56
         Seattle Prop. Mgmt. Assocs.                                  Contingent
         1200 Westlake Avenue N                                       Unliquidated
         Suite 608                                                    Disputed
         Seattle, WA 98109-3529
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $404.25
         Seattle Prop. Mgmt. Assocs.                                  Contingent
         1200 Westlake Avenue N                                       Unliquidated
         Suite 608                                                    Disputed
         Seattle, WA 98109-3529
                                                                   Basis for the claim: Reimbursements
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 6




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Debtor       Hollywood Lofts LLC                                                                    Case number (if known)
             Name

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,115.94
          Seattle Public Utilities                                             Contingent
          P.O. Box 34018                                                       Unliquidated
          Seattle, WA 98124-5177                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 0000
                                                                           Is the claim subject to offset?         No    Yes

3.18      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $682.89
          Sherwin-Williams Company                                             Contingent
          101 W Prospect Avenue                                                Unliquidated
          Cleveland, OH 44115-1093                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 3432
                                                                           Is the claim subject to offset?         No    Yes

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $323.68
          Stop Bugging Me, LLC                                                 Contingent
          2930 4th Avenue S                                                    Unliquidated
          Seattle, WA 98134                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 8666
                                                                           Is the claim subject to offset?         No    Yes

3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $800.00
          Turnkey Seattle, LLC                                                 Contingent
          4049 NE 88th Street                                                  Unliquidated
          Seattle, WA 98115-3740                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 7102
                                                                           Is the claim subject to offset?         No    Yes

3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $181.91
          Villa's Construction, LLC                                            Contingent
          13033 NE 197th Place                                                 Unliquidated
          Woodinville, WA 98072                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 1903
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Apex Appliance Service, Inc.
          12632 NE 2nd Street                                                                       Line     3.2
          Bellevue, WA 98005-3208
                                                                                                           Not listed. Explain

4.2       CenturyLink
          PO Box 2961                                                                               Line     3.3
          Phoenix, AZ 85062-2961
                                                                                                           Not listed. Explain




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6




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Debtor      Hollywood Lofts LLC                                                         Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                       any
4.3       Cressy Door Company, Inc.
          P.O. Box 1329                                                                Line     3.4
          Kent, WA 98035-1329
                                                                                              Not listed. Explain

4.4       Otis Elevator Company
          One Carrier Place                                                            Line     3.11
          Farmington, CT 06032
                                                                                              Not listed. Explain

4.5       Seattle City Light
          P.O. Box 35178                                                               Line     3.14
          Seattle, WA 98124-5178
                                                                                              Not listed. Explain

4.6       Seattle Public Utilities
          P.O. Box 35177                                                               Line     3.17
          Seattle, WA 98124-5177
                                                                                              Not listed. Explain

4.7       Stop Bugging Me, LLC
          7525 SE 24th Street                                                          Line     3.19
          Suite 310
                                                                                              Not listed. Explain
          Mercer Island, WA 98040-2336

4.8       United States of America
          Internal Revenue Service                                                     Line     2.2
          915 Second Ave.
                                                                                              Not listed. Explain
          Seattle, WA 98174


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                     22,430.04

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                         22,430.04




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 6




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Fill in this information to identify the case:

Debtor name       Hollywood Lofts LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Commercial Lease
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          11/30/2031
                                                                                    DYAM Management LLC
           List the contract number of any                                          4511 University Avenue NE
                 government contract                                                Seattle, WA 98105


2.2.       State what the contract or            Fire Alarm Monitoring
           lease is for and the nature of        Contract
           the debtor's interest

               State the term remaining          Indefinite
                                                                                    Guardian Security Systems, Inc
           List the contract number of any                                          1743 First Avenue South
                 government contract                                                Seattle, WA 98134-1403


2.3.       State what the contract or            Apartment Manager's
           lease is for and the nature of        Working Agreement
           the debtor's interest                 and Contract

               State the term remaining          Indefinite
                                                                                    Jeffrey Santiago
           List the contract number of any                                          120 Harvard Ave. E, Apt. 103
                 government contract                                                Seattle, WA 98102


2.4.       State what the contract or            Elevator Service
           lease is for and the nature of        Contract
           the debtor's interest

               State the term remaining          Indefinite                         Otis Elevator Company
                                                                                    3315 South 116th Street
           List the contract number of any                                          Suite 149
                 government contract                                                Seattle, WA 98168




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2




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Debtor 1 Hollywood Lofts LLC                                                     Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Various Tenant
          lease is for and the nature of    Apartment Leases
          the debtor's interest

             State the term remaining       Varying remaining
                                            terms
          List the contract number of any                               Various Tenant Aptmnt. Leases
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2




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Fill in this information to identify the case:

Debtor name      Hollywood Lofts LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Edel M.                     P.O. Box 9263                                             Wells Fargo Bank,                  D   2.1
          Amundson                    Seattle, WA 98109                                         N.A.                               E/F
                                      Guarantor
                                                                                                                                   G




   2.2    Ron E.                      P.O. Box 9263                                             Wells Fargo Bank,                  D   2.1
          Amundson                    Seattle, WA 98109                                         N.A.                               E/F
                                      Guarantor
                                                                                                                                   G




   2.3    Hou Wai Howard              1020 108th Avenue NE                                      DYAM Management                    D
          Lam                         Apt. #1604                                                LLC                                E/F
                                      Bellevue, WA 98004
                                                                                                                                   G   2.1
                                      Guarantor




   2.4    Ken Tan                     6322 168th Place SE                                       DYAM Management                    D
                                      Bellevue, WA 98006                                        LLC                                E/F
                                      Guarantor
                                                                                                                                   G   2.1




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



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                                                      United States Bankruptcy Court
                                                           Western District of Washington
 In re    Hollywood Lofts LLC                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Edel M. Amundson                                            Equity                50%                                        Membership
P.O. Box 9263
Seattle, WA 98109

Ron E. Amundson                                             Equity                50%                                        Membership
P.O. Box 9263
Seattle, WA 98109


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date April 15, 2024                                                      Signature /s/ Ron E. Amundson
                                                                                        Ron E. Amundson

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




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                                               United States Bankruptcy Court
                                                   Western District of Washington
 In re   Hollywood Lofts LLC                                                                     Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     April 15, 2024                                 /s/ Ron E. Amundson
                                                         Ron E. Amundson/Manager
                                                         Signer/Title




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                        US ATTORNEY
                        ATTN BANKRUPTCY ASSISTANT
                        700 STEWART ST #5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046


                        WA ATTORNEY GENERAL
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 5TH AVE #2000
                        SEATTLE, WA 98104


                        JAMES L. DAY
                        BUSH KORNFELD LLP
                        601 UNION ST., SUITE 5000
                        SEATTLE, WA 98101-2373


                        HOLLYWOOD LOFTS LLC
                        P.O. BOX 9263
                        SEATTLE, WA 98109




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                    UNITED STATES OF AMERICA
                    INTERNAL REVENUE SERVICE
                    915 SECOND AVE.
                    SEATTLE, WA 98174


                    ATTORNEY GENERAL OF THE
                     UNITED STATES
                    US DEPARTMENT OF JUSTICE
                    950 PENNSYLVANIA AVE. NW
                    WASHINGTON, DC 20530-0001


                    U.S. SMALL BUSINESS ADMIN.
                    510 L STREET
                    ROOM 310
                    ANCHORAGE, AK 99501


                    U.S. SMALL BUSINESS ADMIN
                    LEGAL DEPT.
                    2401 FOURTH AVE. #400
                    SEATTLE, WA 98121


                    AMERICAN MOLD INSPECTION
                    5884 NE EAGLE HARBOR DRIVE
                    BAINBRIDGE ISLAND, WA 98110-3717


                    APEX APPLIANCE SERVICE, INC.
                    14715 AURORA AVENUE N
                    SEATTLE, WA 98133-6547


                    APEX APPLIANCE SERVICE, INC.
                    12632 NE 2ND STREET
                    BELLEVUE, WA 98005-3208


                    BANK OF AMERICA, N.A.
                    BANK OF AMERICA CORP. CTR.
                    100 NORTH TRYON STREET
                    CHARLOTTE, NC 28255


                    BANK OF AMERICA, N.A.
                    P.O. BOX 25118
                    TAMPA, FL 33622-5118


                    CENTURYLINK
                    100 CENTURYLINK DRIVE
                    MONROE, LA 71203-2041



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                    CENTURYLINK
                    PO BOX 2961
                    PHOENIX, AZ 85062-2961


                    CITY OF SEATTLE DEP'T OF
                      FINANCE & ADMIN. SERVS.
                    700 5TH AVENUE, SUITE 4250
                    PO BOX 34214
                    SEATTLE, WA 98124-4214


                    CRESSY DOOR COMPANY, INC.
                    8025 S 224TH STREET
                    KENT, WA 98032-1957


                    CRESSY DOOR COMPANY, INC.
                    P.O. BOX 1329
                    KENT, WA 98035-1329


                    DYAM MANAGEMENT LLC
                    4511 UNIVERSITY AVENUE NE
                    SEATTLE, WA 98105


                    EDEL M. AMUNDSON
                    P.O. BOX 9263
                    SEATTLE, WA 98109


                    GUARDIAN SECURITY SYSTEMS, INC
                    1743 FIRST AVENUE SOUTH
                    SEATTLE, WA 98134-1403


                    HOU WAI HOWARD LAM
                    1020 108TH AVENUE NE
                    APT. #1604
                    BELLEVUE, WA 98004


                    HOUDINI LOCK AND KEY LLC
                    14815 12TH AVENUE NE
                    SHORELINE, WA 98155-7113


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPS.
                    PO BOX 7346
                    PHILADELPHIA, PA 19101-7346




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                    JEFFREY SANTIAGO
                    120 HARVARD AVE. E, APT. 103
                    SEATTLE, WA 98102


                    KEN TAN
                    6322 168TH PLACE SE
                    BELLEVUE, WA 98006


                    KING COUNTY TREASURY OPS.
                    KING STREET CENTER
                    201 S JACKSON STREET, #710
                    SEATTLE, WA 98104


                    KNOX ENTERPRISES, INC.
                    5010 SOUTH TACOMA WAY
                    TACOMA, WA 98409-4449


                    MENDOZA'S LANDSCAPING
                      & GARDENING LLC
                    120 SE EVERETT MALL WAY C 1314
                    EVERETT, WA 98208


                    MONTGOMERY PURDUE PLLC
                    701 5TH AVENUE, SUITE 5500
                    SEATTLE, WA 98104-7096


                    MR. APPLIANCE CENTRAL SEATTLE
                    6523 CALIFORNIA AVENUE SW
                    PMB 413
                    SEATTLE, WA 98136


                    OTIS ELEVATOR COMPANY
                    3315 SOUTH 116TH STREET
                    SUITE 149
                    SEATTLE, WA 98168


                    OTIS ELEVATOR COMPANY
                    ONE CARRIER PLACE
                    FARMINGTON, CT 06032


                    PACIFIC SUPPLY CO.
                    1417 12TH AVENUE
                    SEATTLE, WA 98122




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                    PIONEER PLUMBING & HEATING
                    2400 NW 80TH STREET #286
                    SEATTLE, WA 98117-4449


                    PNC BANK, N.A.
                    C/O PERKINGS COIE LLP
                    ATTN: AMANDA J. BEANE
                    1201 THIRD AVENUE, SUITE 4900
                    SEATTLE, WA 98101-3099


                    RON E. AMUNDSON
                    P.O. BOX 9263
                    SEATTLE, WA 98109


                    SEATTLE CITY LIGHT
                    P.O. BOX 34023
                    SEATTLE, WA 98124-4023


                    SEATTLE CITY LIGHT
                    P.O. BOX 35178
                    SEATTLE, WA 98124-5178


                    SEATTLE PROP. MGMT. ASSOCS.
                    1200 WESTLAKE AVENUE N
                    SUITE 608
                    SEATTLE, WA 98109-3529


                    SEATTLE PUBLIC UTILITIES
                    P.O. BOX 34018
                    SEATTLE, WA 98124-5177


                    SEATTLE PUBLIC UTILITIES
                    P.O. BOX 35177
                    SEATTLE, WA 98124-5177


                    SHERWIN-WILLIAMS COMPANY
                    101 W PROSPECT AVENUE
                    CLEVELAND, OH 44115-1093


                    STOP BUGGING ME, LLC
                    2930 4TH AVENUE S
                    SEATTLE, WA 98134




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                    STOP BUGGING ME, LLC
                    7525 SE 24TH STREET
                    SUITE 310
                    MERCER ISLAND, WA 98040-2336


                    TURNKEY SEATTLE, LLC
                    4049 NE 88TH STREET
                    SEATTLE, WA 98115-3740


                    VILLA'S CONSTRUCTION, LLC
                    13033 NE 197TH PLACE
                    WOODINVILLE, WA 98072


                    WA STATE DEP'T OF REVENUE
                    BANKRUPTCY/CLAIMS UNIT
                    2101 FOURTH AVENUE, SUITE 1400
                    SEATTLE, WA 98121-2300


                    WA STATE EMP'T SECURITY DEP'T
                    P.O. BOX 9046
                    OLYMPIA, WA 98507


                    WELLS FARGO BANK, N.A.
                    9062 OLD ANNAPOLIS ROAD
                    COLUMBIA, MD 21045




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                                                           Debtor(s)                Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hollywood Lofts LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 15, 2024                                 /s/ James L. Day
Date                                           James L. Day
                                               Signature of Attorney or Litigant
                                               Counsel for Hollywood Lofts LLC
                                               Bush Kornfeld LLP
                                               601 Union St., Suite 5000
                                               Seattle, WA 98101-2373
                                               (206) 292-2110 Fax:(206) 292-2104
                                               jday@bskd.com




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